   Case: 22-11036    Document: 84        Page: 1   Date Filed: 04/18/2023




                        No. 22-11036
          IN THE UNITED STATES COURT OF APPEALS
                   FOR THE FIFTH CIRCUIT
       IN THE MATTER OF HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                             Debtor
THE CHARITABLE DAF FUND, L.P.; CLO HOLDCO, LIMITED; MARK PATRICK;
   SBAITI & COMPANY, P.L.L.C.; MAZIN A. SBAITI; JONATHAN BRIDGES,
                                                       Appellants
                                    v.
               HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                            Appellee
       IN THE MATTER OF HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                             Debtor
                          JAMES DONDERO,
                                             Appellant
                                v.
               HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                            Appellee

            On Appeal from the United States District Court
           for the Northern District of Texas, Dallas Division
 Case Nos. 3:21-cv-1974-X & 3:21-cv-1979-S, Hon. Judge Brantley Starr

           APPELLANTS’ UNOPPOSED MOTION FOR
            EXTENSION OF TIME TO FILE REPLY

    Mazin A. Sbaiti                        Erik S. Jaffe
    Jonathan Bridges                        Lead Counsel
    SBAITI & COMPANY PLLC                  Brian J. Field
    JPMorgan Chase Tower                   SCHAERR | JAFFE LLP
    2200 Ross Avenue                       1717 K Street NW, Suite 900
    Suite 4900W                            Washington, DC 20006
    Dallas, TX 75201                       Telephone: (202) 787-1060
    Telephone: (214) 432-2899              ejaffe@schaerr-jaffe.com
    mas@sbaitilaw.com
                        Counsel for Appellants
        Case: 22-11036      Document: 84     Page: 2   Date Filed: 04/18/2023




                 CERTIFICATE OF INTERESTED PERSONS

                                 No. 22-11036
                 Charitable DAF v. Highland Capital Management

      The undersigned counsel of record certifies that the following persons and

entities as described in the fourth sentence of Circuit Rule 28.2.1 have an interest in

the outcome of this case. These representations are made in order that the judges of

this Court may evaluate possible disqualification or recusal:

 Appellants:              The Charitable DAF Fund, L.P.
                          CLO Holdco, Ltd.
                          Mark Patrick
                          Sbaiti & Company, PLLC
                          Mazin A. Sbaiti
                          Jonathan Bridges
 Counsel for              SCHAERR | JAFFE LLP
 Appellants:              Erik S. Jaffe (ejaffe@schaerr-jaffe.com)
                          Brian J. Field (bfield@schaerr-jaffe.com)

                          SBAITI & COMPANY, PLLC
                          Mazin A. Sbaiti (mas@sbaitilaw.com)
                          Jonathan Bridges (jeb@sbaitilaw.com)

 Appellant:               James Dondero
 Counsel for              LEVINGER, P.C.
 Appellant:               Jeffrey S. Levinger (jlevinger@levingerpc.com)

 Debtor & Appellee:       Highland Capital Management, L.P.
      Case: 22-11036    Document: 84        Page: 3   Date Filed: 04/18/2023




Counsel for Debtor     KRAMER LEVIN NAFTALIS & FRANKEL, L.L.P.
& Appellee:            Roy Theodore Englert, Jr. (renglert@kramerlevin.com)
                       Shikha Garg (sgarg@kramerlevin.com)
                       Matthew M. Madden (mmadden@kramerlevin.com)

                       PACHULSKI STANG ZIEHL & JONES, L.L.P.
                       Jeffrey N. Pomerantz (jpomerantz@pszjlaw.com)
                       Gregory Vincent Demo (gdemo@pszjlaw.com)
                       John A. Morris (jmorris@pszjlaw.com)

                       HAYWARD, PLLC
                       Zachery Z. Annable (zannable@haywardfirm.com)
                       Melissa Sue Hayward (mhayward@haywardfirm.com)


                                   /s/ Erik S. Jaffe
                                   Erik S. Jaffe

                                   Lead Counsel for Appellants
                                   The Charitable DAF Fund, L.P.;
                                   CLO Holdco, Ltd.; Mark Patrick;
                                   Sbaiti & Company, PLLC;
                                   Mazin A. Sbaiti; and Jonathan Bridges




                                       ii
        Case: 22-11036     Document: 84     Page: 4   Date Filed: 04/18/2023




      Pursuant to Rule 34.1 of this Court’s Rules, Appellants Mark Patrick, Mazin

Sbaiti, Jonathan Bridges, Sbaiti & Company PLLC, Charitable DAF Fund, L.P., and

CLO Holdco, Ltd. (“Appellants”) respectfully request a Level-1 extension of their

deadline to file a reply brief, which is currently due by April 28, 2023. Appellants

request that the Court extend this deadline by three weeks to May 19, 2023. This is

Appellants’ first request to extend this deadline, and the request is unopposed.

      There is good cause to grant the requested extension. Specifically, in addition

to the reply brief in this case, Appellants’ counsel must also handle pressing

deadlines in the following cases:

   • Mock v. Garland, No. 23-10319 (5th Cir.) – Reply in support of emergency

      motion for injunction pending appeal due April 19, 2023.

   • In re Search Warrant Executed on Nov. 5, 2021, No. 21-Misc-0813 (S.D.N.Y)

      – Objections to Magistrate’s Report & Recommendation due May 1, 2023.

   • Doe v. Rogers, No. 20-5297 (D.C. Cir.) – Petition for rehearing due May 1,

      2023.

   • Sambrano v. United Airlines, No. 4:21-cv-01074 (N.D. Tex.) – Opposition to

      motion to dismiss due April 24, 2023, and extensive discovery deadlines

      during April and May.

   • In re SB 202, No. 21-mi-55555 (N.D. Ga.) – Extensive expert discovery, with

      nearly two dozen expert depositions to complete by May 19, 2023.
        Case: 22-11036      Document: 84       Page: 5   Date Filed: 04/18/2023




      To allow Appellants’ counsel adequate time to handle these matters, as well

as Appellants’ reply brief in this matter, Appellants request that the Court extend the

reply-brief deadline to May 19, 2023. This request is made in good faith and not for

the purposes of delay.

April 18, 2023                                  Respectfully submitted,

Mazin A. Sbaiti                                 /s/ Erik S. Jaffe
Jonathan Bridges                                Erik S. Jaffe
SBAITI & COMPANY PLLC                             Lead Counsel
JPMorgan Chase Tower                            Brian J. Field
2200 Ross Avenue                                SCHAERR | JAFFE LLP
Suite 4900W                                     1717 K Street NW, Suite 900
Dallas, TX 75201                                Washington, DC 20006
Telephone: (214) 432-2899
                                                Telephone: (202) 787-1060
mas@sbaitilaw.com
                                                ejaffe@schaerr-jaffe.com

             Counsel for Appellants The Charitable DAF Fund, L.P.,
            CLO Holdco, Ltd., Mark Patrick, Sbaiti & Company, PLLC,
                     Mazin A. Sbaiti and Jonathan Bridges




                                           2
          Case: 22-11036    Document: 84       Page: 6   Date Filed: 04/18/2023




                      CERTIFICATE OF COMPLIANCE
      This motion complies with the type-volume, typeface, and type-style

requirements of Federal Rule of Appellate Procedure 27(d)(2)(A). Excluding the

parts of the document exempted by Federal Rule of Appellate Procedure 32(f), the

motion contains 259 words and was prepared using Microsoft Word and produced

in Times New Roman 14-point font.

April 18, 2022

                                                /s/ Erik S. Jaffe
                                                Erik S. Jaffe



                           CERTIFICATE OF SERVICE

      I hereby certify that on April 18, 2023 the foregoing Unopposed Motion for

Extension of Time was served via the Court’s ECF filing system on all registered

counsel of record. I further certify that all parties that must be served have been

served.

                                                /s/ Erik S. Jaffe
                                                Erik S. Jaffe




                                           3
